Case 2:18-cv-01025-|\/|AK Document 1 Filed 03/09/18 Page 1 of 26

SCHAFKOPF LAW, LLC

ATTGRNEYS AT LAW

March 5, 2018

U.S. District Court, ED of PA

Office of the Clerk of Court

U.S. Courthouse

601 Market Street, Room 2609

Philadelphia, PA 19106

Re: Nicholas Magnotta v. Rocksolid Partners LLC et al
To Whom lt May Concern:

Enclosed please find one (l) original and one (l) copy of Plaintiff"s Civil Action
Complaint, along With a CD containing a pdf version of same and a check in the amount of
$400.00, in regards to the above captioned matter.

Kindly file the original Complaint and return a time-etarnped copy to the undersigned

along with the Civil Action Summonses.

Sincerely,

Gary Schafkopf, Esq.

l l BALA AVENUE ' BALA CYNWYD, PA 190{}4 ' PHONE 610-664-5200 Ext. 104 ~ FAX 888-283-1334

 

Case 2:18-cv-01025-|\/|AK Document 1 Filed 03/09/18 Page 2 of 26
1344 csev. 06/11) CIVIL COVER SHEET

The d,\FS 44 civil cover sheet and the information contained herein_m_:ithcr re lace nor supplement the iil_in and service of pleadings or other papers as reéuired by law, except as
provided by local rules of_court_ Tiris form, approved by the ludic:a| Con erence of the Umtcd States m cptember 1974, is required for the usc of the lerlc of Couct for the
purpose of initiating the civil docket sheet. (Sl§l:' INSTRUCTIUNS ON NEXT PAGE OF THIS FORM.]

 

., P AINT FS D F IEANTS
l\ll£:=l?o|asll/|agno a Rocl:l‘<sgll:l artners LLC and Matthew Cipirch
(b) County of Residence of First Listed Plaintiff NeW C&Slle COUt"lty DE County of Residence of` First Listed Defendant Che$ler COL|nt)[ PA
[EXCEPTIN U.S. PLAIWIFF C/lsh`$ (lN U.S. PLA]NTIFF CASES ONLY)

NOTE: lN LAND CONDEM'NATION CASES, USE THE LGCATEON OF
TE~[E TRACT OF LAND lNV{)LVED.

C) Al‘lomeys (Fr'rm Name, Addrc.n', and Te.l'ephnne Nr.urrber) AEEOl‘ncyS (i[fKnowu)
Sc afkopf Law LLC, 11 Bata Ave Bala Cynwyd PA 19004; 610-664-5200

Weisberg Law; 7 South Nlorton Ave, Mortcn PA 19070; 610-690-0880

 

 

 

 

 

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prpecr}j)) Transfer Direct Fiie
Cite the U_S. Civil Statute under which you are filing (Da mir aim jurisdictional summer unless diversr'ry):

28 USC 1332
Briet` description ot`cause:
Defendants breach contract with Plaintiff regarding_home improvement contract

VI. CAUSE OF ACTION

 

 

 

 

 

   
 
 

 

 

VII. REQUESTED IN El CHECK iF THis is A CLASS ACTloN DEMAND $ CHECK YES only ifciemanded in complaint
COMPLAINT: UNDER RULE 23,F-1l-Cv-P- JuRY L)EMAND: 1a Yes ENO
VIIl. RELATED CASE(S) S _ 1 \ _ _
IF ANY ( ee msmrr,!rons). JUDGE DOCKETNUMBER
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GE MAG. JUDGE

sEcEiPT # AMouNT APPLYiNG iFP

 

Case 2:18-cV-010251-]|l\`!/|1A1leD§pgi]i%tseptsf|TRll:Hgdc%?[ip{$}/l$ Page 3 of 26

FOR THE EASTERN DlSTR]CT OF PENNSYLVANIA _ DESIGNAT]ON FORM to be used by counsel to indicate the category of the case 1'01' the purpose ol`
assignment to appropriate calendar.

A¢fdresg Ofplaintif`f-_ 1013 Foulk Rd, Wlllmlngton DE 19803
Arrdressomer¢miant 986 Pottstown Pike Chester Springs PA 19425

l-‘lace ofAceident, lncident or Transaction: November 201 2016
(Use Reverse Sr'de F`oi‘Addt'tr'onal Space)

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

(Attach two copies of the Disclosure Statcmcnt Forin in accordance With Fed.R.Civ.P. T.J(a)} Yesl:l NM
Does this case involve multidistrict litigation possibilities? chEl Nol;<
RELA TED CASE, IFANY: ,

Case Number: lodge Date Terminatcd:

 

 

Civil cases are deemed related when yes is answered to any of the following questions:

1. ls this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
Yes m NCM

2. Does this case involve the same issue of fact or grow out of the same transaction as a prior suit pending or within one year previously terminated
action in this court?

YesL-l NCH

3. Does this case involve the vaiidity or infringement ot` a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? Yesl:l Nol:l

4. ls this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

 

 

YesB hich

CivlL: (Place v’ in oNE cATEGoRY onij
A. Federai Question Cases: B. Di'versity.!urisdiction Cases:

1. El Indemnity Contract, Marine Contract, and All Other Contracts 1. X lnsurance Contract and Other Contracts
2. El FELA 2. |I| Airplane Personai Injury

3. El Jones Act-Personal Injury 3. El Assault, Defarnation

4. El Antitrust 4. EI Marine Personal lnjury

5. El Patent 5. lIl Motor Vehicle Personal lnjury

6. 13 Labor-Management Relations 6. lit OtherPersonal injury (Please specify)
7. |I| Civil Rights 7. D Products Liability

8. El Habeas Corpus 8. E! Products Liability_ Asbestos

9. EJ Securities Act(s) Cases 9. EJ All other Diversity Cases

10. IJ Social Security Revicw Cases (Please specify)

ll. Et All other Federal Question Cases

(Please specify)

 

ARBITRATION CERTIFICATION
{Check Appropriate Ca!egoiy)
I, Gal'y SCl'lafl(Opf, ESq _, counsel of record do hereby cenit`y:
El Pursuant to I.ocaf Civil Rule 53.2, Section 3(6)(2), that to the best of my knowledge and beliel`, the damages recoverable in this civil action case exceed the sum of
$150,000.00 exclusive of interest and costs;
X Relief other than monetary damages is soughtl

DATE: 3'5-13 83362
Attor!ey-at-Law / / Attorney I.D.#
NOTE: A trial de novo \vill be a trial by jury only if there has been compliance with F.R.C.P. 38.

 

I certify that, to my lmowlcdgc, the within case is not related to any case now pending or within one year previously terminated action in this court

except as noted above.

DATE= 3~5-'13 Q"'“j M{ 83362

y Atgrney-at-l_aw f / Attorney I.D.#
ClV. 609 (5/2012)

 

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IN THE UNITED STATES DIS'I`RICT COURT
F()R THE EASTERN DISTRICT OF PENNSYLVANIA

CASE MANAGEMENT TRACK DESIGNATION FORM

Nichoias i\/lagnotta CIVIL ACTION
v.
Rockso|id Partners LLC et ai NO_

In accordance With the Civil .Tustice EXpense and Delay Reduction Plan of this court, counsel for
plaintiff shaii complete a Case Managernent Track Designation Forrn in all civil cases at the time of
filing the complaint and Sel've a copy on all defendants (See § 1:03 of the plan set forth on the reverse
side of this form.) In the event that a defendant does not agree With the plaintiff regarding said
designation, that defendant shali, With its first appearance, submit to the clerk of court and serve on
the plaintiff and all other parties, a Case Managernent Track Designation Form specifying the track

to Which that defendant believes the case should be assigned
SELECT ONE OF 'I`HE FOLLOWING CASE MANAGEMENT TRACKS:
(a) Habeas Corpus N Cases brought under 28 U.S.C. § 2241 through § 2255.

(b) Social Security - Cases requesting review of a decision of the Secretary of Health
and Human Services denying plaintiff Social Sccurity Beneflts.

(c) Arbitration - Cases required to be designated for arbitration under Local Civil Rule 53.2.

(d) Asbestos - Cases involving claims for personal injury or property damage from
exposure to asbestos

(e) Special Managelnent m Cases that do not faii into tracks (a) through (d) that are
commonly referred to as complex and that need special or intense management by
the court. (See reverse side of this form for a detailed explanation cf special
management cases.)

(f) Standard Management ~ Cases that do not fall into any one of the other tracks

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3_5_13 _ _ r_ P|aintift
Date .’.ttor" ey- " Attorney for
610~664-5200 888-283~‘} 334 gary@$chafiaw. com
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Case 2:18-cv-01025-|\/|AK Document 1 Filed 03/09/18 Page 5 of 26

WEISBERG LAW Schafkopf LaW, LLC

Matthew B. Weisberg, Attomey ID No. 8557() Gary Schafkopf, Attorney ID No. 83362
7 South Moiton Ave. 11 Bala Ave

Morton, PA 19070 Bala Cynwyd, PA 19004

610~690-0801 610~664-5200 Ext 104
'Fax: 610~690-0880 Fax: 888-283-1334

Attorney for Pfaintiff Attorney for Plaintiff

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

NICHOLAS MAGNOTTA :
1013 Fouik Rd : CIVIL ACTION

Wilrnington, DE 19803

Plaintiff, : DOCKET NO.
v. :

ROCKSOLID PARTNERS LLC :
976 Pottstown Pike : IURY TRIAL OF TWELVE (12) JURORS

Chester Springs, PA 19425 : DEMANDED
and

MATTHEW CIPIRCH
976 Pottstown Pike
Chester Springs, PA 19425

and

JOHN DOES 1-10
Defendants.

 

CIVIL ACTION COMPLAIN'I`

1. Piaintiff, Nicholas Magnotta, is an adult individuals and citizen of DelWare, residing at
the above captioned address

2. Defendant, Rocksolid Partners LLC, is a Pennsylvania Limited Liability Corporation,
duly organized and existing under and by virtue of laws cf the Commonwealth of

Pennsylvania, doing business at the above captioned address

 

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. Defendant, Matthew Cipirch, is the president and member of Rocksolid Partners, LLC, at
the above captioned address and at all times material Was Working in the course and
scope of his employment as an officer, owner, agent, servant, workmen and/or employee
of said Defendant.
. Defendants, John Does 1-10, is a monil<er/fictitious name for individuals and entities
currently unknown but will be substituted when known, as affiliated, associated or liable
hereunder for the reasons set forth below or inferred therefrom. Each cf these parties are
incorporated as Defendants in each and every count and averment listed above and below.

JURISDICTION and VENUE
. - Venue is proper in the United States District Court for the Eastern District of
Pennsylvania, pursuant to 28 U.S.C. § l391(b)(l), as at least one (1) Defendant resides,
maintains a principal place of business, and/or does business in the Eastern District of
Pennsylvania.
. Jurisdiction of this Honcrable Court is based on diversity of citizenship 28 U.S.C. §
1332., the amount in controversy, exclusive of interest and costs exceeds the sum of
$75,()00.00.

OPERATIVE FACTS

. Plaintiff is the owner 1013 Foulk Rd, Wiimington Delaware (the “property”), a single~
family ranch style home
On or about August 26, 2016, Plaintiff struck and damaged a water pipe in the home’s
laundry room.

. The damage caused extensive flooding throughout the interior of the property.

 

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On or about August 26, 2016, Plaintiff filed a Homeowners Insurance claim with USSA
insurance Claim Number: 039963670-00; Policy Number: 039963670/90A.

On or about September 2, 2016, the property was inspected by a third-party adjuster to
USSA lnsurance.

USSA lnsurance issued a check to Plaintiff for $45,088.25.

On or about November 20, 2016, Plaintiff entered into an agreement with Defendants
Rocksolid Partners LLC and Matthew Cipirch to repair the damage to Plaintiff’S
property. Exhibit A

Per the terms of the agreement Defendants, Rocksolid and Michael Cipirch scope of work
included but was not limited to rebuilding the kitchen, replacing the HVAC system,
remove and replace all damaged flooring throughout the property, replacing and
upgrading the electrical system in the home, trim work and painting See Exhibit A
Under the terms of the agreement Plaintiff agreed to pay Defendants, Rocksolid and
Cipirch $54,202.80. See Exhibit A.

Defendants advised Plaintiff that the project was to be completed by December 1(), 2016.
Plaintiff provided Defendant Cipirch a deposit of $7,0()0.00 to begin working on
property.

Under the terms of the agreement with USSA Insurance any money distributions could
come from Plaintift’s mortgage company.

Upon completion of predetermined phases of the construction the mortgage company
would issue a check to Plaintiff and Defendants.

On or about November 28, 2016, Pla`mtiff checked into a hotel to allow Defendants to

begin to demo the property

 

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Case 2:18-cv-01025-|\/|AK Document 1 Filed 03/09/18 Page 8 of 26

Defendants were to begin to demo work on the property on November 29, 2016.

Over the course of several weeks Defendants conducted little to demolition on the
property as agreed to.

Plaintiff would contact Defendant Rocksolid’S project manager to request that he send
crew members to work on the property.

Defendants would do little to no work until Plaintiff contacted Defendant Ciprich to
advise that work was not being completed

By December 10, 2016 Defendants failed to complete the demo portion of the project.
On or about December 12, 2016 Defendant Matthew Cipirch sent Plaintiff an email
providing an estimate of when work was to be completed

On or about December 14, 2016, Defendant Cipirch demanded Plaintiff a second
payment despite not having completed the agreed upon demolition work.

Over the following weeks Plaintiff continued to have contact Defendant Cirpich in order
to have demolition work conducted on the property.

In an effort to get the project back on track Defendant Cirpich hired Plaintiff’s girlfriend,
Beau Cameron as the new project manager. l

On or about January 3, 2017, Plaintiffs mortgage company issued a check to Plaintiff and
Defendant Rocksolid LLC for $2l,002.94.

ln or around the end of January 2017 Defendants completed demolition of the property
and were set to begin working on the agreed upon renovations

Despite Defendants assurances that the project would be completed in a timely manner,

the project continued to experience delays despite Cameron acting as project manager.

 

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Defendants failed to appear on the job site and would only sent subcontractors or crew
members to work for a short period of time each day.

Defendant Cirpirch would redirect crew members to other worksites and fail to advise
Cameron of his decisions

Plaintiff and Cameron continued to call and text Defendant asking that he send his crew
to Work on the project

During the course of the project Plaintiff was advised that the roof on the property was
leaking.

Plaintiff relied the information to Defendant Cipirch, who advised that the roof would be
repaired before continuing to work on the interior of the property.

Defendant Cirpirch advised Plaintiff that due to the leak the electrical panel had been
damaged and would need to be replaced

Plaintiff paid Defendants $1,100.00 to upgrade the electrical panel.

On or about January 27, 2016, Plaintiff sent Defendant Cipirch an email expressing his
concern about having new hardwood flooring installed due to the leaking roof not being
repaired

Defendants advised that the leaking roof would be repaired before the hardwood floors
would installed.

Defendants failed to fix the leaking roof as agreed to and installed the hardwood floors

Plaintiff’s hardwood floors were damaged when it rained due to Defendants negligent

actions.

Per the terms of the contract Defendant was to install a split HVAC unit for the property.

Defendant failed to properly install both HVAC units.

 

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Plaintiff did not have a function heating system during the winter of 2017.

During the course of the construction Defendant removed Plaintiff’ s personal belongings
and placed them into a portable storage unit on the property.

Plaintiff discovered that his personal property had been damaged due to the crew’s
negligence when placing items in the storage unit.

Plaintiff discovered damage to various parts of the property caused by Defendant’s

workers during the course of the construction

50. On or about February 12, 2017 Plaintiff advised Defendant Cipirch that several items in

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the horne being damaged due to his worker’s negligence

Despite several assurances from Defendant Cipirch that damage property would be fixed
and the project completed the project continued to be delayed

ln or about February 2017 Defendants installed a new shower in the upstairs bathroom
Due to Defendants negligent instillation the shower pipes leaked and damaged the
kitchen ceiling, cabinets and flooring.

On or about March 6th Plaintiff’s mortgage company distributed the final check for
approximately $27,000.00

Plaintiff kept approximately $13,000.00 of the mortgage company’s final distribution due
to damage caused by Defendants workers

Despite several assurances from Defendant Cipirch that damage property Would be fixed
and the project completed the project continued to be delayed.

On or about .`Fune 7, 2017 Plaintiff terminated Defendants, Rocksolid Partners LLC and
Matthew Cipirch. l

Throughout the course of the construction Plaintiff paid for materials out of pocket

 

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During the course of the construction Defendant’s failed to remove and/or protect
Plaintiff" s kitchen appliances including the stove and ren‘igerator.

Due to Defendant’s negligence Plaintiff’s kitchen appliances were severally damaged
Plaintiff discovered damage to various parts of the property caused by Defendant’s
workers during the course of the construction

Upon terminating the Defendants Plaintiff discovered no permits had been obtained for
the electrical, plumbing and HVAC system.

Upon terminating Defendants Plaintiff discovered that Defendants were not licensed to
operate in New Castel County Delaware.

Upon terminating Defendants Plaintiff discovered Defendants had cut electrical wiring
during the demolition and falsely told Plaintiff the damage was due to the initial water
damage

Plaintiff was forced to pay for new electrical throughout the property due to Defendants
negligence

Upon terminating the Defendants, Plaintiff discovered various electrical outlets and
switches throughout the home that were not connected to the electrical paneling and do
not Work.

Upon terminating Defendants, the Plaintiff discovered Defendant failed to properly
install the HVAC system in the property.

Defendant failed to install the correct lining and wiring for the HVAC system rendering it
inoperable.

Plaintiff has been unable to repair the HVAC system due to the extensive damage caused

by Defendants

 

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70. Upon terminating Defendants Plaintiff discovered exterior damage to the property
creating openings for vermin to enter the property.
71. On or about August 16, 2017 Plaintiff received a proposal from J.W. Tuil Contracting
Services to replace and repair damage caused by Defendants Exhibit B
72. As a direct and proximate result of the foregoing, Plaintiff sustained great economic loss.
73. Plaintiff and continues to experience great economic hardship and emotional distress
COUNT I -~ PENNSYLVANIA UNFAIR TRADE PRAC'I`ICES AND CONSUMER

PROTECTION LAW AND DELWARE UNFAIR 'I`RADE PRACTICES AND
CONSUMER PROTECTION LAW

74. Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.

75. At all times material, Defendants’ are a “person(s)” engaged in trade or commerce as that
tenn is defined by the Pennsylvania Unfair Trade Practices Act and Consumer Protection
Law and Delaware Unfair Trade Practices Act and Consumer Protection Law .

76. The Defendants’ aforementioned conduct constitutes an “unfair or deceptive practice”
within the meaning of the UTPCPL and DUTPCPL

77. At all times material, Defendants have conducted itself in violation of the UTPCPL and
DUTPCPL.

78. Upon information and belief, Defendants are not licensed in New Castle County
Delaware to operate

79. Upon information and belief, Defendants’ have not completed the scope of the work as
agreed to.

80. Defendants’ attempt at collecting additional monies from Plaintiff beyond the deposit
constitutes an “unfair or deceptive practice” within the meaning of the UTPCPL and

DUTPCPL.

 

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The UTPCPL authorizes the Court in its discretion to award up to three (3) times
(“treble”) the actual damages sustained for violations as well as attorneys’ fees, for which

Plaintiff is entitled.

As the direct and proximate results of the aforesaid, Plaintiff sustained the aforesaid

damages (incorporated by reference).

COUNT II- HOME IMPROVEMENT CONSUMER PROTECTION ACT (HICPA) auth

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Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.

At all times material, Defendants have conducted itself in violation of the l-IICPA aUpon
information and belief, Defendants are not licensed in New Castle County Delaware to
operate.

Upon information and belief, Defendants’ have not completed the scope of the work as
agreed to. l

Upon information and belief, Defendants’ have caused additional damage to the property.
Defendants’ attempt at collecting additional monies from Plaintiff beyond the deposit
without completing the agreed upon work.

As the direct and proximate results of the aforesaid, Plaintiff sustained the aforesaid

damages (incorporated by reference).

C()UNT III- UNJUST ENRICHMENT/PROMISSORY ESTOPPEL

Plaintiff hereby incorporates the above paragraphs as if set forth at length herein.
Defendants have been unjustly enriched, they have received payment having never

completed the work agreed to between the parties

 

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As the direct and proximate results of the aforesaid, Plaintiff sustained the aforesaid
damages (incorporated by reference).
COUNT lV - NEGLIGENCE

Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.
Defendants negligent installation of the HVAC system has rendered it inoperable forcing
Plaintiff to be without heating and air conditioning
Defendants negligently rewired the electrical system in the horne and negligently
installed an electrical panel.
Defendant’s failed to use proper care when placing Plaintiff s personal belongings in a
portable storage unit causing extensive damage to Plaintiff’ s personal property.
All times material, Defendants deviated from the applicable standard of care and
otherwise were negligent, careless, reckless, for the reasons aforesaid

COUNT V - BREACH OF CONTRACT/OUASI CONTRACT
Plaintiff incorporates by reference all prior paragraphs as if fully set forth at length
herein.
At all times material, Plaintiff and Defendants were parties to a contract express and/or
implied at law, of which Defendants are in breach, to Plaintiff’ s great personal detriment
and injury as aforesaid
Defendants failed to complete the project within a reasonable time as agreed to between

the parties.

100. Defendants improperly installed the electrical, plumbing and HVAC systems in

the home.

 

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101. Defendants failed to obtain the necessary permits and inspections for the property.
102. At all times material, Defendants owed Plaintiff a duty of utmost fair dealing, to
which said Defendants’ are in breach to Plaintiff’ s great personal detriment and injury as

aforesaid

COUN'I` VI - FRAUD/FRAUDULENT MISREPRESENTATION

103. All preceding paragraphs of this Complaint are incorporated herein as though
fully set.
104. Defendants’ fraudulent misrepresentations included intentionally misrepresenting

to Plaintiffs that they were at all relevant times were lawfully licensed in New Castle
County to operate.
105. Additionally, Defendants’ fraudulent misrepresentations include intentionally
misrepresenting to Plaintiffs to the following:
a. That it was reasonably possible Plaintiff could move into his home by December
10, 2017.
b. That Defendants’ would complete all work agreed upon in two weeks after
Agreement
c. That the Defendants would complete the work in a professional manner.
106. The aforementioned representations were made with the intent of misleading and
inducing the Plaintiff to rely upon them.
107. 'l`he Plaintiff’ s reliance on the representations was justified, and his resulting
damages were proximately caused by said reliance on the representations made by

Defendants’.

 

 

 

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108. As the direct and proximate results of the aforesaid, Plaintiff sustained the
aforesaid damages (incorporated by reference).

WHEREFORE, Plaintiff demands judgment in his favor and against Defendants, their
agents, servants, workmen and/or employees, individually, jointly and/or severally, for an
amount in excess of $75,000.00, plus interest costs of suit, attorneys’ fees, treble damages,
statutory damages, compensatory damages, and punitive damages, plus other relief which this

Honorable Court deems necessary and just.

Respectfully Submitted,

 

WEISBERG LAW scHAFKoPF LAW, LLC
BY: /s/Matthew Weisberg BY: @“‘7 MM
MATTHEW B. wsisBERo, EsQ. GARY chHrKoPF, EsQ.

DATED; 355 ' iii DATED; 3” 5` ’57

 

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EXHIBIT A

 

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Case 2

 

 

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EXHIBIT B

 

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J. W. Tull Contracting Services, LLC
501 Simon Rd.
Wilmington DE 19803
jason@jwtullcontracting.com
302-494~8179

 

PROPO SAL

DATE: August 16, 2017 To: Nick Magnotta
1013 Foulk Rd
Wilmington De 19803

Thank you for allowing J. W. Tull Contracting to bid on this proj ect. Below outlines the scope
of work:

EXTERIOR
ROOF/EXTERIOR
- Derno/disposal - remove and dispose of existing shingle and underlayment
- Inspect all sheathing - poor sheathing to be replaced at an additional cost of $50 per sheet
- New drip edge
- Ice and water shield to be installed at first 3’ of perimeter
- Rhino paper underlay to be installed
~ 19 sq of Tamko Heritage Series Prernium 30 yr Architectural Shingle to be installed
- Ridge vent and capping to be installed where applicable
~ Roof` collars to be replaced
- 160 linear ft of gutter and downspout to be installed
- 265 linear ft of metal capping to be installed $10,850
- SIDING
- Replacing?
- INTERIOR

Upstairs Bathroom

DEMO/DISPOSAL~ remove and dispose of tile shower and tile floor, and additional
material necessary $1750

Inspect framing, level and replace sub floor $1250

lnstall backer board

Layout and install shower tile

Install kerdi drain

lnstall kerdi bond

 

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Install grout
lnstall water sealant $7650

Re-install toilet

lnstall supplies and drain for double vanity
install multi-function diverter for shower
Install trim kit

Install rainhead $2995

Layout and install tile floor $1450
lnstall base trim $800
Skim coat and paint bathroom $1400
Reinstall vanity $850
Reinstall electric fixtures 3650

UNF]:NISHED BATHROOM
Needs final design/until design is finished the prices are only tentative
Layout and install floor tile $1450
lnstall drywall and finish $2350
Set tub
Run supplies for vanity fixture and drain $2450
lnstall tile surround for tub $3850
lnstall base trim $350
Install vanity $450
Electric allowance $2000
Paint $950
Extras $800

FRONT DOOR REINSTALL/REPLACEMENT $3850

Finish all currently unfinished trim and install where it is missing $4250
lnstall a total of 9 paneled hollow doors with casing and hardware $4050
Install pocket door for bathroom or modify current door so it does not hit
Allowance to finish fireplace $2500

Finish ceiling downstairs to eliminate curve and tape seams and paint $4450
Ensure proper install of recessed lights $850

Install faux stone where garage door existed $495 0

Install new window in garage wall, (beginning to rot) $950

Recap a total of 14 windows $3000

Reinstall patio door and waterproof 328 50

 

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lnstall tile backsplash in kitchen $265 0

Finish kitchen paint and make repairs to drywall add cover plates to receptacles 33150
Transition from living room to garage performed poorly. Very noticeable hump and
reinstall flooring ?

Patch hole in foyerm wall and paint $1300

Skim coat/repair door area in bedroom and paint entire room $1950
Identify exposed wire in hallway wall, hide patch hole, paint $850
Paint foyer ceiling and walls $2000

Reinstall trim on side of stairs and finish $1000

Repaint stair stringer $950

Total allowance for window painting 32000

Cover supply in upstairs bedroom and carpet ?
Allowance to finish closet area in bedroom 1 31000

HVAC

lnstall proper line hide for mini split system wiring and line sets '
Check for proper system pressure

Evacuate outdoor unit

Detach line set

Disconnect high and low voltage wiring

Set pad and unit along back side of house

Perform a heater install and attachment of line set

Reinstall line set to outdoor unit

Char'ge system to appropriate system specs and line set size/distance to unit
Reconnect high/low voltage $3350

DUE TO THE EXTENSIVE SIZE OF THIS PROJECT AND NATURE OF POOR
WORKMANSHIP PERFORMED, IT IS RECOMMENDED AT LEAST A 10%
FACTOR BE ALLOWED FOR INCIDENTALS OR UNFORESEENS.
ADDITIONALLY, THE PRICING IS SUBJECT TG CHANGE BASED OFF OF
DESIGN REQUESTS FROM CLlENT/MATERIAL CHOSEN TO BE lNSTALLED
ON JOB ETC.

 

